UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

Xx
In Re: New York City Policing During Summer DECLARATION OF
2020 Demonstrations, JOHN BISKUP

20 Civ, 8924 (CM)(GWG)

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This filing is related to:
ALL CASES

x

 

STATE OF NEW YORK
COUNTY OF NEW YORK ss:

JOHN BISKUP being duly sworn, deposes.and states, that the following is true and correct:

1. I am a member of the New York City Police Department (“NYPD”) since 2006, hold the
rank of police officer, and have been assigned to the Lower Manhattan Security Initiative (“LMSI”) since
2015. LMSI is a unit of the Counterterrorism Bureau responsible for maintaining NYPD cameras
throughout the City. All LMSI cameras are overtly visible and clearly labeled. LMSI is also responsible
for archiving the videos from these cameras. My current assignment involves fulfilling requests for video,
such as the case at the bar.

2. In October 2021, I received a request to produce aviation video related to certain protests
and demonstrations held in the City.

3. I went through archives of aviation footage, which consist of video gathered pursuant to
previous requests. I uploaded any footage corresponding to the identified dates to NYPD’s Domain
Awareness System (“DAS”) video vendor’s proprietary software platform from which it could be

reviewed and transmitted.
4, In addition, it is my understanding and belief that the DAS video vendor was asked to
disable the automatic deletion of all aviation footage generated for the requested days. The result is the
preservation of footage of all video captured by NYPD’s helicopters the entire time that each helicopter
went up on any of the requested dates. The total amount of footage is over one terabyte.

5. To produce the portions of the video related to the protests requires the manual review of
the raw footage and identification of a given day’s video for protest-related footage using the time stamps.
That information must be provided to the DAS Video Vendor and LMSI so that the portions identified as
responsive can be copied off the servers and uploaded to the proprietary platform for transmittal.

6. Because of the potential sensitive nature of the most of the raw footage, it must first be
reviewed by NYPD who will then provide the time stamps to the DAS video vendor. Access to the
proprietary platform, for review of the raw footage, is limited to only a very few members of NYPD’s
Legal Bureau.

7. Upon information and belief, it will take the video vendor and LMSI approximately two

weeks to locate and upload the identified portions to the proprietary software platform.

8. I have already begun the tasks involved with the production of the requested aviation

footage but neither the Legal Bureau, the video vendor nor I will be able to complete our respective

processes by the given deadline.

Dated: | / a Ox

 

John Biskup@_

NYPD Police Officer
